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                                            (CLAIMANT LIST )
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1     Claim No.                               Law Firm Name
2    1007       Slater Slater Schulman, LLP
3    10362      Slater Slater Schulman, LLP
4    10696      Slater Slater Schulman, LLP
5    10775      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
6    108        Loren Rhoton
7    10820      Slater Slater Schulman, LLP
8    10872      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
9    10943      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
10   10965      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
11   11165      Slater Slater Schulman, LLP
12   11243      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
13   11366      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
14   11475      Andrews & Thornton, AAL, ALC
15   11598      Freese & Goss, PLLC
16   11645      Slater Slater Schulman, LLP
17   11669      Slater Slater Schulman, LLP
18   1173       Bonina & Bonina P.C.
19   11743      Slater Slater Schulman, LLP
20   12187      Slater Slater Schulman, LLP
21   12228      Junell & Associates, PLLC
22   1248       Slater Slater Schulman, LLP
23   12517      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
24   12589      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
25   12739      Slater Slater Schulman, LLP
26   12827      ASK LLP
27   12860      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
28   13049      Marc J . Bern & Partners, LLP
29   13143      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
30   13221      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
31   13226      Kraus and Kinsman Law Firm
32   13315      Slater Slater Schulman, LLP
33   13388      Junell & Associates, PLLC
34   13421      Junell & Associates, PLLC
35   13637      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
36   13662      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
37   13893      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
38   13906      N/A
39   13915      Slater Slater Schulman, LLP
40   14082      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
41   14168      ASK LLP
42   14442      Junell & Associates, PLLC
43   14473      Junell & Associates, PLLC
44   14495      Junell & Associates, PLLC
45   14612      ASK LLP
46   14688      Junell & Associates, PLLC
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1     Claim No.                               Law Firm Name
47   14710      Junell & Associates, PLLC
48   14794      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
49   14822      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
50   14837      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
51   14951      Slater Slater Schulman, LLP
52   15165      Slater Slater Schulman, LLP
53   15326      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
54   15497      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
55   15531      IPG Law Group
56   15616      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
57   15639      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
58   15653      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
59   15801      Andrews & Thornton, AAL, ALC
60   15838      Damon J Baldone & Associates, APLC
61   15979      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
62   16028      Freese & Goss, PLLC
63   16386      Slater Slater Schulman, LLP
64   16625      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
65   16708      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
66   16768      N/A
67   16785      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
68   16924      Andrews & Thornton, AAL, ALC
69   17398      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
70   17448      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
71   17520      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
72   17543      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
73   17560      Slater Slater Schulman, LLP
74   17648      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
75   17767      Kraus and Kinsman Law Firm
76   17856      Slater Slater Schulman, LLP
77   17999      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
78   18181      Slater Slater Schulman, LLP
79   18212      Andrews & Thornton, AAL, ALC
80   1840       Slater Slater Schulman, LLP
81   18427      Slater Slater Schulman, LLP
82   18461      McDonald Worley, PC
83   18556      Slater Slater Schulman, LLP
84   18603      Winer, Burritt & Scott
85   18630      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
86   18747      The Carlson Law Firm, PC
87   18841      N/A
88   18867      Schneider Wallace Cottrell Konecky, LLP
89   19310      Slater Slater Schulman, LLP
90   19456      Marc J . Bern & Partners, LLP
91   19712      Marc J . Bern & Partners, LLP
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 1   Claim No.                               Law Firm Name
 92 19930      Slater Slater Schulman, LLP
 93 19976      ASK LLP
 94 20252      Andrews & Thornton, AAL, ALC
 95 2034       Slater Slater Schulman, LLP
 96 20392      Slater Slater Schulman, LLP
 97 20418      Babin Law, LLC
 98 20497      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
 99 20498      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
100 20677      Marc J . Bern & Partners, LLP
101 20695      Slater Slater Schulman, LLP
102 20713      Slater Slater Schulman, LLP
103 20852      Slater Slater Schulman, LLP
104 20873      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
105 20912      Marc J . Bern & Partners, LLP
106 20975      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
107 21022      Marc J . Bern & Partners, LLP
108 21042      Marc J . Bern & Partners, LLP
109 21121      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
110 21241      Marc J . Bern & Partners, LLP
111 21259      ASK LLP
112 21611      Marc J . Bern & Partners, LLP
113 21683      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
114 21726      Marc J . Bern & Partners, LLP
115 21752      Marc J . Bern & Partners, LLP
116 21759      Marc J . Bern & Partners, LLP
117 21809      Marc J . Bern & Partners, LLP
118 21831      Marc J . Bern & Partners, LLP
119 21850      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
120 21919      Junell & Associates, PLLC
121 22092      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
122 22148      Forman Law Offices, P.A.
123 22292      Junell & Associates, PLLC
124 22295      Andrews & Thornton, AAL, ALC
125 22304      Marc J . Bern & Partners, LLP
126 22344      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
127 22482      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
128 22519      Marc J . Bern & Partners, LLP
129 22630      Marc J . Bern & Partners, LLP
130 2270       Slater Slater Schulman, LLP
131 22806      Slater Slater Schulman, LLP
132 23010      Andrews & Thornton, AAL, ALC
133 23382      Kraus and Kinsman Law Firm
134 23424      Danizger & De Llano, LLP
135 23519      Slater Slater Schulman, LLP
136 23563      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
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 1   Claim No.                                Law Firm Name
137 23660      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
138 2378       Andreozzi + Foote
139 23804      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
140 2383       Slater Slater Schulman, LLP
141 23857      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
142 23929      Slater Slater Schulman, LLP
143 240        N/A
144 24052      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
145 24212      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
146 24222      Junell & Associates, PLLC
147 24234      Junell & Associates, PLLC
148 2432       N/A
149 24336      James, Vernon & Weeks, P.A.; Donahoo & Associates, PC
150 24394      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
151 24724      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
152 24739      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
153 24833      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
154 24849      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
155 24875      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
156 24928      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
157 25101      Napoli Schkolnik PLLC
158 25134      Joseph Joy & Associates, APLC & Jason J. Joy & Associates, APLC
159 25359      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
160 25453      Danizger & De Llano, LLP
161 25639      Slater Slater Schulman, LLP
162 25816      ASK LLP
163 25863      Jeff Anderson & Associates P.A
164 26099      Slater Slater Schulman, LLP
165 26204      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
166 26285      Junell & Associates, PLLC
167 26421      Junell & Associates, PLLC
168 26423      Junell & Associates, PLLC
169 26496      Slater Slater Schulman, LLP
170 26529      Andrews & Thornton, AAL, ALC
171 26628      Paluch Law LLC
172 26704      Liakos Law, APC
173 268        Slater Slater Schulman, LLP
174 26827      N/A
175 26868      The Moody Law Firm, Inc
176 26892      N/A
177 27074      Slater Slater Schulman, LLP
178 27196      Slater Slater Schulman, LLP
179 27235      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
180 27366      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
181 27431      Junell & Associates, PLLC
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 1   Claim No.                                Law Firm Name
182 27715      Slater Slater Schulman, LLP
183 27841      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
184 28120      Hair Shunnarah Trial Attorneys
185 28149      ASK LLP
186 28193      N/A
187 28202      Marc J . Bern & Partners, LLP
188 28369      N/A
189 28379      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
190 28400      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
191 28557      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
192 28671      Marc J . Bern & Partners, LLP
193 28685      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
194 28695      ASK LLP
195 28708      Marc J . Bern & Partners, LLP
196 28716      ASK LLP
197 28892      Junell & Associates, PLLC
198 28953      Mitchell A. Toups, Ltd.
199 29099      Marc J . Bern & Partners, LLP
200 29188      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
201 29328      Slater Slater Schulman, LLP
202 29357      ASK LLP
203 29368      Slater Slater Schulman, LLP
204 29421      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
205 29477      ASK LLP
206 29536      ASK LLP
207 29539      ASK LLP
208 2962       Slater Slater Schulman, LLP
209 29633      Danizger & De Llano, LLP
210 29758      Davis Bethune & Jones Law
211 29790      Davis Bethune & Jones Law
212 29839      Kraus and Kinsman Law Firm
213 29946      Kraus and Kinsman Law Firm
214 29985      Kraus and Kinsman Law Firm
215 29993      Kraus and Kinsman Law Firm
216 30010      Napoli Schkolnik PLLC
217 30035      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
218 30041      Kraus and Kinsman Law Firm
219 30126      Kraus and Kinsman Law Firm
220 30133      Kraus and Kinsman Law Firm
221 30284      Kraus and Kinsman Law Firm
222 30483      Kraus and Kinsman Law Firm
223 30537      Kraus and Kinsman Law Firm
224 30540      Kraus and Kinsman Law Firm
225 30555      Kraus and Kinsman Law Firm
226 30768      ASK LLP
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 1   Claim No.                               Law Firm Name
227 30827      Kraus and Kinsman Law Firm
228 30895      ASK LLP
229 31002      ASK LLP
230 31003      ASK LLP
231 31049      ASK LLP
232 31118      ASK LLP
233 31185      ASK LLP
234 31222      Marc J . Bern & Partners, LLP
235 31245      Liakos Law, APC
236 31367      ASK LLP
237 31384      Liakos Law, APC
238 31425      ASK LLP
239 31520      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
240 31727      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
241 31809      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
242 31838      Slater Slater Schulman, LLP
243 3195       N/A
244 31959      Slater Slater Schulman, LLP
245 32058      Slater Slater Schulman, LLP
246 32076      Andrews & Thornton, AAL, ALC
247 32089      Porter Malouf Law Firm
248 32214      Kraus and Kinsman Law Firm
249 32340      Slater Slater Schulman, LLP
250 32351      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
251 32398      Kraus and Kinsman Law Firm
252 32439      N/A
253 32445      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
254 32463      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
255 32558      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
256 32698      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
257 32715      Andrews & Thornton, AAL, ALC
258 33045      Kraus and Kinsman Law Firm
259 3310       Slater Slater Schulman, LLP
260 33270      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
261 33285      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
262 33317      ASK LLP
263 3335       Slater Slater Schulman, LLP
264 33392      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
265 33611      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
266 33627      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
267 33752      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
268 33784      Marc J . Bern & Partners, LLP
269 33842      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
270 3386       N/A
271 33906      Kraus and Kinsman Law Firm
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 1   Claim No.                                Law Firm Name
272 34041      Marc J . Bern & Partners, LLP
273 34137      Andreozzi + Foote
274 34261      Marc J . Bern & Partners, LLP
275 34304      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
276 34609      Marc J . Bern & Partners, LLP
277 34728      ASK LLP
278 34837      Slater Slater Schulman, LLP
279 34892      Slater Slater Schulman, LLP
280 34934      ASK LLP
281 35026      Andrews & Thornton, AAL, ALC
282 35059      ASK LLP
283 35092      The Law Office of L. Paul Mankin
284 35120      Colter Legal PLLC
285 35432      Forman Law Offices, P.A.
286 35452      Freese & Goss, PLLC
287 35542      Liakos Law, APC
288 35605      Wolf, Rifkin, Shapiro, Schulman & Rabkin LLP
289 35607      Freese & Goss, PLLC
290 35677      Wolf, Rifkin, Shapiro, Schulman & Rabkin LLP
291 35680      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
292 35699      Freese & Goss, PLLC
293 35709      Wolf, Rifkin, Shapiro, Schulman & Rabkin LLP
294 3584       Andrews & Thornton, AAL, ALC
295 35840      Kraus and Kinsman Law Firm
296 3593       Andrews & Thornton, AAL, ALC
297 35983      Kraus and Kinsman Law Firm
298 36147      Marc J . Bern & Partners, LLP
299 36221      Forman Law Offices, P.A.
300 36368      Danizger & De Llano, LLP
301 36393      Danizger & De Llano, LLP
302 36468      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
303 365        Slater Slater Schulman, LLP
304 36572      Moreli Law Firm PLLC
305 36791      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
306 36883      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
307 36901      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
308 37034      Ashcraft & Gerel, LLP
309 37062      ASK LLP
310 37063      ASK LLP
311 3713       Slater Slater Schulman, LLP
312 37239      ASK LLP
313 37257      The Moody Law Firm, Inc
314 37429      Slater Slater Schulman, LLP
315 37452      Marc J . Bern & Partners, LLP
316 37465      Swensen & Shelley, PLLC
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 1   Claim No.                                 Law Firm Name
317 37531      Slater Slater Schulman, LLP
318 37535      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
319 37624      The Moody Law Firm, Inc
320 37778      Marc J . Bern & Partners, LLP
321 37809      Damon J Baldone & Associates, APLC
322 37956      Slater Slater Schulman, LLP
323 38016      ASK LLP
324 38038      ASK LLP
325 38193      ASK LLP
326 38211      N/A
327 38309      Andrews & Thornton, AAL, ALC
328 3834       Slater Slater Schulman, LLP
329 38380      Andrews & Thornton, AAL, ALC
330 38391      The Law Office of L. Paul Mankin
331 38682      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
332 38783      Kraus and Kinsman Law Firm
333 3886       Slater Slater Schulman, LLP
334 38875      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
335 38934      Slater Slater Schulman, LLP
336 38967      Jeff Anderson & Associates P.A
337 38970      Horowitz Law Firm
338 39032      Slater Slater Schulman, LLP
339 39043      ASK LLP
340 39288      Slater Slater Schulman, LLP
341 39335      ASK LLP
342 39379      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
343 39444      ASK LLP
344 39599      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
345 39816      Law Offices of Donald G. Norris
346 39918      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
347 40024      Law Offices of Donald G. Norris
348 40053      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
349 40137      Weller Green Toups & Terrell LLP
350 40189      Slater Slater Schulman, LLP
351 40223      Slater Slater Schulman, LLP
352 40228      Andreozzi + Foote
353 40362      Mokaram Law Firm
354 40431      The Law Office of L. Paul Mankin
355 40522      N/A
356 40555      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
357 40573      The Webster Law Firm
358 40689      Andrews & Thornton, AAL, ALC
359 40834      Danizger & De Llano, LLP
360 40954      Moreli Law Firm PLLC
361 41024      ASK LLP
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 1   Claim No.                                Law Firm Name
362 41055      Liakos Law, APC
363 41158      ASK LLP
364 41175      ASK LLP
365 41191      ASK LLP
366 41297      Law Office of Joseph A. Bluemel, III, P.S
367 41867      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
368 42055      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
369 42089      Andreozzi + Foote
370 42105      Slater Slater Schulman, LLP
371 42230      Danizger & De Llano, LLP
372 42286      Weller Green Toups & Terrell LLP
373 42316      Andreozzi + Foote
374 42374      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
375 42391      ASK LLP
376 42404      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
377 42426      Andreozzi + Foote
378 42535      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
379 42585      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
380 42621      Marc J . Bern & Partners, LLP
381 42894      Marc J . Bern & Partners, LLP
382 42998      N/A
383 43017      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
384 43143      Marc J . Bern & Partners, LLP
385 43176      Marc J . Bern & Partners, LLP
386 43238      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
387 4330       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
388 43302      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
389 43351      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
390 43505      ASK LLP
391 43652      Levy Konigsberg LLP
392 43673      ASK LLP
393 43702      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
394 43995      Schneider Wallace Cottrell Konecky, LLP
395 44129      ASK LLP
396 44160      Brent Coon & Associates
397 44177      Colter Legal PLLC
398 44199      Slater Slater Schulman, LLP
399 44276      Buckfire & Buckfire PC
400 44497      Swensen & Shelley, PLLC
401 44508      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
402 44576      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
403 44636      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
404 44659      ASK LLP
405 4476       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
406 44907      The Law Office of L. Paul Mankin
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 1   Claim No.                                Law Firm Name
407 44966      Slater Slater Schulman, LLP
408 44981      ASK LLP
409 4505       Slater Slater Schulman, LLP
410 45186      Swensen & Shelley, PLLC
411 45248      Andrews & Thornton, AAL, ALC
412 45269      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
413 45316      Andrews & Thornton, AAL, ALC
414 45347      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
415 4544       N/A
416 45589      Andrews & Thornton, AAL, ALC
417 45941      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
418 45998      Levin, Papantonio, Thomas, Mitchell, Rafferty, Proctor, P.A
419 46372      Marc J . Bern & Partners, LLP
420 46428      Junell & Associates, PLLC
421 46475      Junell & Associates, PLLC
422 46480      Danizger & De Llano, LLP
423 46556      The Law Office of L. Paul Mankin
424 46652      Andreozzi + Foote
425 46661      ASK LLP
426 46673      Slater Slater Schulman, LLP
427 46868      ASK LLP
428 4696       Slater Slater Schulman, LLP
429 47136      Horowitz Law Firm
430 4739       Andrews & Thornton, AAL, ALC
431 47520      Danizger & De Llano, LLP
432 47618      ASK LLP
433 47671      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
434 47742      ASK LLP
435 47941      ASK LLP
436 4801       Marc J . Bern & Partners, LLP
437 48183      Equitas Advocates PC
438 48187      Equitas Advocates PC
439 48271      Slater Slater Schulman, LLP
440 48468      Slater Slater Schulman, LLP
441 48817      Danizger & De Llano, LLP
442 48884      D Miller & Associates, PLLC
443 48888      Fasy Law PLLC
444 48953      D Miller & Associates, PLLC
445 49022      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
446 49111      Slater Slater Schulman, LLP
447 49187      Slater Slater Schulman, LLP
448 49252      Slater Slater Schulman, LLP
449 49443      Weller Green Toups & Terrell LLP
450 49480      Weller Green Toups & Terrell LLP
451 4949       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
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                                            (CLAIMANT LIST )
         A                                           B
 1   Claim No.                                Law Firm Name
452 49631      ASK LLP
453 49749      Paluch Law LLC
454 49765      ASK LLP
455 49783      Paluch Law LLC
456 49812      ASK LLP
457 49822      Danizger & De Llano, LLP
458 49869      D Miller & Associates, PLLC
459 49889      ASK LLP
460 49941      ASK LLP
461 50023      D Miller & Associates, PLLC
462 50263      Schneider Wallace Cottrell Konecky, LLP
463 50352      ASK LLP
464 50365      Slater Slater Schulman, LLP
465 50405      ASK LLP
466 50419      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
467 50685      Slater Slater Schulman, LLP
468 50690      ASK LLP
469 50715      ASK LLP
470 50782      ASK LLP
471 50964      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
472 50975      Slater Slater Schulman, LLP
473 51011      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
474 51067      ASK LLP
475 51185      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
476 51207      Christina Pendleton & Associates PC
477 51343      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
478 51475      The Moody Law Firm, Inc
479 51525      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
480 51544      Marc J . Bern & Partners, LLP
481 51554      Andrews & Thornton, AAL, ALC
482 51579      Andrews & Thornton, AAL, ALC
483 51639      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
484 51756      Napoli Schkolnik PLLC
485 51784      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
486 52008      Andrews & Thornton, AAL, ALC
487 52183      Andrews & Thornton, AAL, ALC
488 52191      Christina Pendleton & Associates PC
489 52239      Andrews & Thornton, AAL, ALC
490 52281      Andrews & Thornton, AAL, ALC
491 52303      Andrews & Thornton, AAL, ALC
492 52326      Slater Slater Schulman, LLP
493 52350      Slater Slater Schulman, LLP
494 52367      Slater Slater Schulman, LLP
495 52392      ASK LLP
496 52486      Andrews & Thornton, AAL, ALC
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                                            (CLAIMANT LIST )
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 1   Claim No.                               Law Firm Name
497 52516      Slater Slater Schulman, LLP
498 52548      The Moody Law Firm, Inc
499 5255       Slater Slater Schulman, LLP
500 52741      Marc J . Bern & Partners, LLP
501 52753      Andreozzi + Foote
502 52790      Marc J . Bern & Partners, LLP
503 52838      Andrews & Thornton, AAL, ALC
504 52839      D Miller & Associates, PLLC
505 52850      Andrews & Thornton, AAL, ALC
506 52868      Andrews & Thornton, AAL, ALC
507 52902      Andrews & Thornton, AAL, ALC
508 52924      Napoli Schkolnik PLLC
509 53130      Andrews & Thornton, AAL, ALC
510 53145      Damon J Baldone & Associates, APLC
511 53171      ASK LLP
512 53177      Slater Slater Schulman, LLP
513 53178      Andrews & Thornton, AAL, ALC
514 53316      Andrews & Thornton, AAL, ALC
515 53356      Andrews & Thornton, AAL, ALC
516 53373      D Miller & Associates, PLLC
517 53510      Andrews & Thornton, AAL, ALC
518 5355       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
519 53567      Andrews & Thornton, AAL, ALC
520 53572      Andrews & Thornton, AAL, ALC
521 53580      Andrews & Thornton, AAL, ALC
522 53657      Andrews & Thornton, AAL, ALC
523 53669      D Miller & Associates, PLLC
524 53717      Andrews & Thornton, AAL, ALC
525 53735      Andrews & Thornton, AAL, ALC
526 53776      Andrews & Thornton, AAL, ALC
527 53795      Andrews & Thornton, AAL, ALC
528 53807      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
529 53842      Andrews & Thornton, AAL, ALC
530 53861      Andrews & Thornton, AAL, ALC
531 53888      Andrews & Thornton, AAL, ALC
532 53893      Pourasef Law, PLCC
533 53925      Andrews & Thornton, AAL, ALC
534 5393       Slater Slater Schulman, LLP
535 53935      Berger Montague; Nye Stirling Hale & Miller LLP; Motley Rice
536 54060      Kraus and Kinsman Law Firm
537 5431       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
538 5434       Slater Slater Schulman, LLP
539 54382      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
540 54488      Freese & Goss, PLLC
541 54540      Merson Law PLLC
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 1   Claim No.                                 Law Firm Name
542 54669      Brent Coon & Associates
543 54671      Napoli Schkolnik PLLC
544 54932      Slater Slater Schulman, LLP
545 54936      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
546 54948      Slater Slater Schulman, LLP
547 5502       Aylstock, Witkin, Kreis, & Overholtz, PLLC
548 55027      ASK LLP
549 55101      Parker & Waichman LLP
550 55216      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
551 55240      Moreli Law Firm PLLC
552 55299      Marc J . Bern & Partners, LLP
553 55363      Slater Slater Schulman, LLP
554 55372      Gordon & Partners
555 55374      Marc J . Bern & Partners, LLP
556 55427      ASK LLP
557 55586      ASK LLP
558 55690      Marc J . Bern & Partners, LLP
559 55699      ASK LLP
560 55740      ASK LLP
561 55779      ASK LLP
562 55791      Napoli Schkolnik PLLC
563 55902      ASK LLP
564 55947      Slater Slater Schulman, LLP
565 55982      The Law Office of L. Paul Mankin
566 56095      ASK LLP
567 56096      Jeff Anderson & Associates P.A
568 56213      Andrews & Thornton, AAL, ALC
569 5622       Slater Slater Schulman, LLP
570 56256      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
571 56417      ASK LLP
572 56507      Napoli Schkolnik PLLC
573 56530      Slater Slater Schulman, LLP
574 56610      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
575 56613      ASK LLP
576 56619      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
577 56714      Andrus Wagstaff, PC
578 56732      Slater Slater Schulman, LLP
579 56739      Slater Slater Schulman, LLP
580 56783      Danizger & De Llano, LLP
581 56866      Andrews & Thornton, AAL, ALC
582 56923      ASK LLP
583 57161      ASK LLP
584 57311      ASK LLP
585 57317      ASK LLP
586 57439      Slater Slater Schulman, LLP
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 1   Claim No.                                Law Firm Name
587 57555      Estey & Bomberger, LLP, Cutter Law, PC
588 57679      Napoli Schkolnik PLLC
589 57755      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
590 57783      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
591 57804      Marc J . Bern & Partners, LLP
592 57813      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
593 57876      Napoli Schkolnik PLLC
594 57883      Marc J . Bern & Partners, LLP
595 57957      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
596 57966      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
597 57972      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
598 57989      Napoli Schkolnik PLLC
599 58085      Damon J Baldone & Associates, APLC
600 58214      Marc J . Bern & Partners, LLP
601 58229      Marc J . Bern & Partners, LLP
602 58313      D Miller & Associates, PLLC
603 58534      Freese & Goss, PLLC
604 58542      Marc J . Bern & Partners, LLP
605 58774      Marc J . Bern & Partners, LLP
606 58947      Slater Slater Schulman, LLP
607 58995      Slater Slater Schulman, LLP
608 59053      Mokaram Law Firm
609 59083      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
610 59380      Napoli Schkolnik PLLC
611 59591      Swensen & Shelley, PLLC
612 59594      Kraus and Kinsman Law Firm
613 59648      Slater Slater Schulman, LLP
614 59674      Kraus and Kinsman Law Firm
615 59727      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
616 59870      Andrews & Thornton, AAL, ALC
617 59883      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
618 59925      Napoli Schkolnik PLLC
619 59969      Law Office of Carmen L. Durso
620 59992      Napoli Schkolnik PLLC
621 60045      Napoli Schkolnik PLLC
622 60061      ASK LLP
623 60141      Jeff Anderson & Associates P.A
624 60169      Andrews & Thornton, AAL, ALC
625 60192      Andrews & Thornton, AAL, ALC
626 60202      Kraus and Kinsman Law Firm
627 6037       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
628 60466      Slater Slater Schulman, LLP
629 60493      Andrews & Thornton, AAL, ALC
630 60514      Andrews & Thornton, AAL, ALC
631 60522      Andrews & Thornton, AAL, ALC
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 1   Claim No.                                 Law Firm Name
632 60618      Andrews & Thornton, AAL, ALC
633 60621      D Miller & Associates, PLLC
634 60634      ASK LLP
635 60645      ASK LLP
636 60722      Danizger & De Llano, LLP
637 60872      Andrews & Thornton, AAL, ALC
638 60945      ASK LLP
639 61025      D Miller & Associates, PLLC
640 61073      Andrews & Thornton, AAL, ALC
641 61080      Andrews & Thornton, AAL, ALC
642 61094      Andrews & Thornton, AAL, ALC
643 61102      Andrews & Thornton, AAL, ALC
644 61131      ASK LLP
645 61161      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
646 61220      Andrews & Thornton, AAL, ALC
647 61224      Andrews & Thornton, AAL, ALC
648 61244      D Miller & Associates, PLLC
649 61247      Andrews & Thornton, AAL, ALC
650 6135       Slater Slater Schulman, LLP
651 61374      Andrews & Thornton, AAL, ALC
652 61500      Andrews & Thornton, AAL, ALC
653 61511      Marc J . Bern & Partners, LLP
654 61601      The Moody Law Firm, Inc
655 61802      Estey & Bomberger, LLP, Cutter Law, PC
656 62         N/A
657 62009      Swensen & Shelley, PLLC
658 62279      Jason J. Joy & Associates, PLLC
659 62280      Jason J. Joy & Associates, PLLC
660 62350      D Miller & Associates, PLLC
661 62356      Marc J . Bern & Partners, LLP
662 62450      D Miller & Associates, PLLC
663 625        Slater Slater Schulman, LLP
664 6265       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
665 62859      Freese & Goss, PLLC
666 62860      Slater Slater Schulman, LLP
667 62895      Freese & Goss, PLLC
668 62899      Freese & Goss, PLLC
669 62924      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
670 62994      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
671 63001      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
672 63099      Marc J . Bern & Partners, LLP
673 63233      Slater Slater Schulman, LLP
674 63412      Kraus and Kinsman Law Firm
675 63414      Kraus and Kinsman Law Firm
676 63437      Napoli Schkolnik PLLC
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 1   Claim No.                                Law Firm Name
677 63528      Estey & Bomberger, LLP, Cutter Law, PC
678 6364       N/A
679 63694      Junell & Associates, PLLC
680 63919      Mokaram Law Firm
681 63923      Napoli Schkolnik PLLC
682 63939      Slater Slater Schulman, LLP
683 63940      Bailey Cowan Heckaman, PLLC
684 64065      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
685 64157      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
686 64378      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
687 64380      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
688 64409      Slater Slater Schulman, LLP
689 64428      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
690 64443      Slater Slater Schulman, LLP
691 64539      ASK LLP
692 6462       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
693 64719      ASK LLP
694 6475       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
695 64795      N/A
696 64877      Hilliard Martinez Gonzales LLP
697 64930      Hilliard Martinez Gonzales LLP
698 64937      Moreli Law Firm PLLC
699 6494       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
700 64981      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
701 64992      Kraus and Kinsman Law Firm
702 64995      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
703 65032      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
704 65044      Kraus and Kinsman Law Firm
705 65057      Marc J . Bern & Partners, LLP
706 65175      Pourasef Law, PLCC
707 65208      Babin Law, LLC
708 65253      Babin Law, LLC
709 65351      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
710 65401      Andrews & Thornton, AAL, ALC
711 65446      Estey & Bomberger, LLP, Cutter Law, PC
712 65547      ASK LLP
713 6569       Slater Slater Schulman, LLP
714 65738      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
715 65856      Hanna; Vander Ploeg, LLC
716 65940      Andrews & Thornton, AAL, ALC
717 65999      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
718 66021      The Moody Law Firm, Inc
719 66113      Bailey Cowan Heckaman, PLLC
720 6618       Slater Slater Schulman, LLP
721 66268      Paluch Law LLC
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 1   Claim No.                                Law Firm Name
722 66275      Bailey Cowan Heckaman, PLLC
723 66298      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
724 66351      Andrews & Thornton, AAL, ALC
725 66375      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
726 66378      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
727 66433      Andrews & Thornton, AAL, ALC
728 66488      Danizger & De Llano, LLP
729 66617      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
730 66662      The Moody Law Firm, Inc
731 66680      The Moody Law Firm, Inc
732 66687      The Moody Law Firm, Inc
733 66708      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
734 66740      Weller Green Toups & Terrell LLP
735 66743      D Miller & Associates, PLLC
736 66755      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
737 66774      The Moody Law Firm, Inc
738 66855      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
739 66956      D Miller & Associates, PLLC
740 66972      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
741 67003      Davis Bethune & Jones Law
742 67029      Davis Bethune & Jones Law
743 67045      Davis Bethune & Jones Law
744 67452      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
745 67456      Kraus and Kinsman Law Firm
746 67458      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
747 67525      ASK LLP
748 67527      ASK LLP
749 67555      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
750 67613      Paluch Law LLC
751 67629      Hilliard Martinez Gonzales LLP
752 67649      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
753 67678      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
754 6778       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
755 67780      Slater Slater Schulman, LLP
756 67784      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
757 67890      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
758 67926      Danizger & De Llano, LLP
759 6794       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
760 67962      ASK LLP
761 68008      Babin Law, LLC
762 68237      Berger Montague; Nye Stirling Hale & Miller LLP; Motley Rice
763 68294      N/A
764 68325      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
765 68371      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
766 68511      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
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                                      REVISED EXHIBIT C TO MOTION
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         A                                            B
 1   Claim No.                                 Law Firm Name
767 68597      Law Offices of Donald G. Norris
768 6865       Slater Slater Schulman, LLP
769 68685      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
770 68707      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
771 68713      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
772 68751      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
773 68832      Hilliard Martinez Gonzales LLP
774 69138      Slater Slater Schulman, LLP
775 69184      Pourasef Law, PLCC
776 69216      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
777 69251      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
778 69283      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
779 69378      Slater Slater Schulman, LLP
780 69387      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
781 69592      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
782 69673      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
783 69703      ASK LLP
784 69741      Slater Slater Schulman, LLP
785 69754      Andrews & Thornton, AAL, ALC
786 69935      Junell & Associates, PLLC
787 69941      Junell & Associates, PLLC
788 69944      Slater Slater Schulman, LLP
789 70106      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
790 70131      ASK LLP
791 70161      Junell & Associates, PLLC
792 70230      Junell & Associates, PLLC
793 70272      Slater Slater Schulman, LLP
794 70353      Junell & Associates, PLLC
795 70384      Bradshaw & Bryant, PLLC
796 70408      Andrews & Thornton, AAL, ALC
797 70428      Junell & Associates, PLLC
798 70514      ASK LLP
799 70553      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
800 70611      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
801 70625      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
802 70682      Slater Slater Schulman, LLP
803 7085       Slater Slater Schulman, LLP
804 70859      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
805 70986      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
806 71063      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
807 71199      Junell & Associates, PLLC
808 71255      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
809 71276      Marc J . Bern & Partners, LLP
810 71364      Damon J Baldone & Associates, APLC
811 71469      James Harris Law, PLLC
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 1   Claim No.                               Law Firm Name
812 71573      Mary Alexander & Associates, P.C.
813 71634      D Miller & Associates, PLLC
814 71696      James Harris Law, PLLC
815 71697      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
816 71707      Herman Law Firm
817 71714      N/A
818 71723      Estey & Bomberger, LLP, Cutter Law, PC
819 71783      Marc J . Bern & Partners, LLP
820 71850      Davis Bethune & Jones Law
821 719        Slater Slater Schulman, LLP
822 71954      D Miller & Associates, PLLC
823 7200       Slater Slater Schulman, LLP
824 72014      Marc J . Bern & Partners, LLP
825 72040      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
826 72057      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
827 72061      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
828 72084      Gilleon Law Firm
829 72143      Marc J . Bern & Partners, LLP
830 72157      Marc J . Bern & Partners, LLP
831 72223      Slater Slater Schulman, LLP
832 72268      Dordulian Law Group
833 72310      Dordulian Law Group
834 72344      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
835 72352      Danizger & De Llano, LLP
836 72359      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
837 72372      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
838 72374      Bailey Cowan Heckaman, PLLC
839 72397      Marc J . Bern & Partners, LLP
840 72406      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
841 72504      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
842 72507      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
843 72517      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
844 72518      The Carlson Law Firm, PC
845 72528      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
846 72550      Moreli Law Firm PLLC
847 72588      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
848 72615      Davis Bethune & Jones Law
849 72644      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
850 72691      Moreli Law Firm PLLC
851 72726      N/A
852 72740      Marc J . Bern & Partners, LLP
853 72875      James Harris Law, PLLC
854 72955      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
855 73047      Marc J . Bern & Partners, LLP
856 73101      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
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 1   Claim No.                               Law Firm Name
857 73181      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
858 73184      Andrews & Thornton, AAL, ALC
859 73214      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
860 73267      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
861 73428      Kraus and Kinsman Law Firm
862 73664      Kraus and Kinsman Law Firm
863 73725      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
864 73808      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
865 73895      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
866 73896      Slater Slater Schulman, LLP
867 73916      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
868 73940      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
869 73954      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
870 73960      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
871 73965      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
872 73979      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
873 73984      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
874 74009      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
875 74067      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
876 74113      Paluch Law LLC
877 74201      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
878 74261      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
879 7430       Slater Slater Schulman, LLP
880 74375      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
881 74429      D Miller & Associates, PLLC
882 74500      Danizger & De Llano, LLP
883 74514      Slater Slater Schulman, LLP
884 74551      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
885 74805      Kraus and Kinsman Law Firm
886 74820      Kraus and Kinsman Law Firm
887 74871      Kraus and Kinsman Law Firm
888 74896      Kraus and Kinsman Law Firm
889 74921      Kraus and Kinsman Law Firm
890 75001      Slater Slater Schulman, LLP
891 75072      Napoli Schkolnik PLLC
892 75266      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
893 75269      Babin Law, LLC
894 75367      Kraus and Kinsman Law Firm
895 75407      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
896 75509      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
897 75523      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
898 75529      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
899 75550      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
900 75568      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
901 75679      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
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 1   Claim No.                               Law Firm Name
902 75694      Kraus and Kinsman Law Firm
903 75715      Marc J . Bern & Partners, LLP
904 75756      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
905 75780      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
906 75795      Marc J . Bern & Partners, LLP
907 75800      N/A
908 75821      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
909 75880      Marc J . Bern & Partners, LLP
910 75888      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
911 76057      Marc J . Bern & Partners, LLP
912 76078      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
913 76080      Babin Law, LLC
914 76118      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
915 76202      Babin Law, LLC
916 76266      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
917 76396      Babin Law, LLC
918 76419      Weitz & Luxemberg, P.C
919 76445      Babin Law, LLC
920 76514      Kraus and Kinsman Law Firm
921 76534      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
922 76591      Marc J . Bern & Partners, LLP
923 7668       Slater Slater Schulman, LLP
924 76948      Marc J . Bern & Partners, LLP
925 76970      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
926 76977      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
927 77021      Marc J . Bern & Partners, LLP
928 77029      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
929 77048      Jim Harris Law PLLC
930 77275      Marc J . Bern & Partners, LLP
931 77325      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
932 77330      Marc J . Bern & Partners, LLP
933 77370      Marc J . Bern & Partners, LLP
934 77411      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
935 77442      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
936 77453      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
937 77539      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
938 77548      Marc J . Bern & Partners, LLP
939 77557      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
940 77592      Marc J . Bern & Partners, LLP
941 77624      Marc J . Bern & Partners, LLP
942 77666      Marc J . Bern & Partners, LLP
943 77716      Junell & Associates, PLLC
944 7777       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
945 77785      Marc J . Bern & Partners, LLP
946 77788      Marc J . Bern & Partners, LLP
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 1   Claim No.                               Law Firm Name
947 77841      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
948 77889      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
949 77953      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
950 77980      D Miller & Associates, PLLC
951 78008      Davis Bethune & Jones Law
952 78025      Bailey Cowan Heckaman, PLLC
953 78093      Marc J . Bern & Partners, LLP
954 78169      D Miller & Associates, PLLC
955 78209      Davis Bethune & Jones Law
956 78375      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
957 78378      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
958 78400      Junell & Associates, PLLC
959 78471      Davis Bethune & Jones Law
960 78537      Marc J . Bern & Partners, LLP
961 7857       Andrews & Thornton, AAL, ALC
962 78651      Marc J . Bern & Partners, LLP
963 78706      Junell & Associates, PLLC
964 78740      Junell & Associates, PLLC
965 78783      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
966 78841      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
967 78850      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
968 78851      Kraus and Kinsman Law Firm
969 78895      Marc J . Bern & Partners, LLP
970 78912      Davis Bethune & Jones Law
971 78925      Junell & Associates, PLLC
972 78941      Junell & Associates, PLLC
973 79101      Junell & Associates, PLLC
974 79108      Marc J . Bern & Partners, LLP
975 79145      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
976 79167      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
977 79293      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
978 79314      Kraus and Kinsman Law Firm
979 79375      Junell & Associates, PLLC
980 79408      Bailey Cowan Heckaman, PLLC
981 79409      Junell & Associates, PLLC
982 79441      Bailey Cowan Heckaman, PLLC
983 79458      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
984 79482      Marc J . Bern & Partners, LLP
985 79489      Marc J . Bern & Partners, LLP
986 79529      Marc J . Bern & Partners, LLP
987 79569      D Miller & Associates, PLLC
988 79603      Kraus and Kinsman Law Firm
989 79670      Bailey Cowan Heckaman, PLLC
990 79685      Junell & Associates, PLLC
991 79704      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
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 1    Claim No.                               Law Firm Name
992 79734       Junell & Associates, PLLC
993 79827       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
994 79837       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
995 79863       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
996 79886       Junell & Associates, PLLC
997 79887       Paluch Law LLC
998 79976       Junell & Associates, PLLC
999 79991       Junell & Associates, PLLC
1000 80055      Junell & Associates, PLLC
1001 80094      Marc J . Bern & Partners, LLP
1002 80102      Junell & Associates, PLLC
1003 80136      Marc J . Bern & Partners, LLP
1004 80155      Junell & Associates, PLLC
1005 80202      Junell & Associates, PLLC
1006 8030       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1007 80319      Danizger & De Llano, LLP
1008 80375      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1009 80481      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1010 80514      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1011 80549      Junell & Associates, PLLC
1012 80603      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1013 80654      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1014 80681      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1015 80696      D Miller & Associates, PLLC
1016 80736      D Miller & Associates, PLLC
1017 80789      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1018 80821      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1019 80836      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1020 80842      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1021 80845      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1022 80887      D Miller & Associates, PLLC
1023 80895      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1024 80924      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1025 80971      D Miller & Associates, PLLC
1026 80993      D Miller & Associates, PLLC
1027 81048      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1028 81111      Marc J . Bern & Partners, LLP
1029 81134      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1030 81212      Reich and Binstock, LLP
1031 81217      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1032 81242      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1033 81254      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1034 81265      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1035 81476      ASK LLP
1036 81560      ASK LLP
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 1    Claim No.                                 Law Firm Name
1037 81578      Kraus and Kinsman Law Firm
1038 81602      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1039 81639      Kraus and Kinsman Law Firm
1040 81662      Kraus and Kinsman Law Firm
1041 81669      Kraus and Kinsman Law Firm
1042 81762      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1043 81834      Davis Bethune & Jones Law
1044 8185       Slater Slater Schulman, LLP
1045 81850      Babin Law, LLC
1046 81876      Babin Law, LLC
1047 81886      Kraus and Kinsman Law Firm
1048 81903      Babin Law, LLC
1049 81909      Kraus and Kinsman Law Firm
1050 81929      Danizger & De Llano, LLP
1051 8194       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1052 82005      Marc J . Bern & Partners, LLP
1053 82030      Napoli Schkolnik PLLC
1054 82065      Marc J . Bern & Partners, LLP
1055 82094      Yuspeh Rappaport Law
1056 82160      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1057 82264      Marc J . Bern & Partners, LLP
1058 82389      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1059 82421      Forman Law Offices, P.A.
1060 82497      Babin Law, LLC
1061 82534      ASK LLP
1062 82568      Babin Law, LLC
1063 82616      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1064 82634      Babin Law, LLC
1065 82671      Weller Green Toups & Terrell LLP
1066 82701      Kraus and Kinsman Law Firm
1067 82731      Mary Alexander & Associates, P.C.
1068 82770      Babin Law, LLC
1069 82786      ASK LLP
1070 82915      N/A
1071 82954      Kraus and Kinsman Law Firm
1072 8299       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1073 83065      D Miller & Associates, PLLC
1074 83092      Marc J . Bern & Partners, LLP
1075 83097      Babin Law, LLC
1076 83126      Marc J . Bern & Partners, LLP
1077 83226      Davis Bethune & Jones Law
1078 83314      Jason J. Joy & Associates, PLLC
1079 83351      Paluch Law LLC
1080 83362      Mary Alexander & Associates, P.C.
1081 83378      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
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 1    Claim No.                                 Law Firm Name
1082 83470      Jason J. Joy & Associates, PLLC
1083 83568      Marc J . Bern & Partners, LLP
1084 83737      Marc J . Bern & Partners, LLP
1085 83784      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1086 83811      Babin Law, LLC
1087 83821      TorHoerman Law LLC
1088 83928      Babin Law, LLC
1089 83947      Jason J. Joy & Associates, PLLC
1090 83978      Jason J Joy & Associates and Martin Baughman, PLLC
1091 84003      Marc J . Bern & Partners, LLP
1092 84158      Jason J. Joy & Associates, PLLC
1093 84230      Horowitz Law Firm
1094 84283      Marc J . Bern & Partners, LLP
1095 84512      Horowitz Law Firm
1096 84525      Marc J . Bern & Partners, LLP
1097 84545      Babin Law, LLC
1098 84619      Davis Bethune & Jones Law
1099 84687      Marc J . Bern & Partners, LLP
1100 84699      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1101 84707      N/A
1102 84723      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1103 84748      Reich and Binstock, LLP
1104 84780      Marc J . Bern & Partners, LLP
1105 84794      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1106 84868      D Miller & Associates, PLLC
1107 84874      Jason J. Joy & Associates, PLLC
1108 84901      Marc J . Bern & Partners, LLP
1109 84920      Reich and Binstock, LLP
1110 85048      D Miller & Associates, PLLC
1111 85049      Babin Law, LLC
1112 85054      ASK LLP
1113 85139      Jason J. Joy & Associates, PLLC
1114 85187      Marc J . Bern & Partners, LLP
1115 85192      Babin Law, LLC
1116 85260      Marc J . Bern & Partners, LLP
1117 85359      Marc J . Bern & Partners, LLP
1118 85430      Marc J . Bern & Partners, LLP
1119 85491      Kraus and Kinsman Law Firm
1120 8551       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1121 85576      Marc J . Bern & Partners, LLP
1122 85591      Kraus and Kinsman Law Firm
1123 85622      Kraus and Kinsman Law Firm
1124 85646      Marc J . Bern & Partners, LLP
1125 85677      Kraus and Kinsman Law Firm
1126 85697      Kraus and Kinsman Law Firm
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 1    Claim No.                                 Law Firm Name
1127 85704      N/A
1128 85814      Kraus and Kinsman Law Firm
1129 85817      Babin Law, LLC
1130 85858      Kraus and Kinsman Law Firm
1131 85952      Marc J . Bern & Partners, LLP
1132 85997      Babin Law, LLC
1133 86005      Kraus and Kinsman Law Firm
1134 86090      Kraus and Kinsman Law Firm
1135 86150      Kraus and Kinsman Law Firm
1136 86177      Kraus and Kinsman Law Firm
1137 86291      Kraus and Kinsman Law Firm
1138 86402      Marc J . Bern & Partners, LLP
1139 86408      Marc J . Bern & Partners, LLP
1140 86502      Kraus and Kinsman Law Firm
1141 86550      Kraus and Kinsman Law Firm
1142 8656       N/A
1143 86593      Kraus and Kinsman Law Firm
1144 86599      Kraus and Kinsman Law Firm
1145 86673      Kraus and Kinsman Law Firm
1146 86688      Kraus and Kinsman Law Firm
1147 86692      Kraus and Kinsman Law Firm
1148 86744      Kraus and Kinsman Law Firm
1149 86814      Kraus and Kinsman Law Firm
1150 86828      Kraus and Kinsman Law Firm
1151 86846      Kraus and Kinsman Law Firm
1152 86865      Kraus and Kinsman Law Firm
1153 86874      Kraus and Kinsman Law Firm
1154 86902      Marc J . Bern & Partners, LLP
1155 86941      Marc J . Bern & Partners, LLP
1156 87022      Kraus and Kinsman Law Firm
1157 87043      Marc J . Bern & Partners, LLP
1158 87044      Marc J . Bern & Partners, LLP
1159 87061      Marc J . Bern & Partners, LLP
1160 87075      Marc J . Bern & Partners, LLP
1161 87161      D Miller & Associates, PLLC
1162 87182      Marc J . Bern & Partners, LLP
1163 87215      Jason J. Joy & Associates, PLLC
1164 87275      Babin Law, LLC
1165 87510      Reich and Binstock, LLP
1166 87519      Babin Law, LLC
1167 87620      N/A
1168 87671      D Miller & Associates, PLLC
1169 87791      Gibb Law Group LLC
1170 87878      Bailey Cowan Heckaman, PLLC
1171 87892      D Miller & Associates, PLLC
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 1    Claim No.                                 Law Firm Name
1172 8790       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1173 87970      D Miller & Associates, PLLC
1174 88121      D Miller & Associates, PLLC
1175 88127      Bailey Cowan Heckaman, PLLC
1176 88147      Bailey Cowan Heckaman, PLLC
1177 88174      Bailey Cowan Heckaman, PLLC
1178 8828       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1179 88288      Kraus and Kinsman Law Firm
1180 8861       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1181 88644      ASK LLP
1182 88695      Marc J . Bern & Partners, LLP
1183 88741      Marc J . Bern & Partners, LLP
1184 88755      Babin Law, LLC
1185 88845      Marc J . Bern & Partners, LLP
1186 89171      N/A
1187 89253      Kraus and Kinsman Law Firm
1188 89256      N/A
1189 89269      Slater Slater Schulman, LLP
1190 89300      Douglas & London PC
1191 89306      D Miller & Associates, PLLC
1192 89308      N/A
1193 89393      Wright & Schulte, LLC
1194 89427      Marc J . Bern & Partners, LLP
1195 8946       Slater Slater Schulman, LLP
1196 89481      Kraus and Kinsman Law Firm
1197 89536      Jason J. Joy & Associates, PLLC
1198 89564      Kraus and Kinsman Law Firm
1199 89662      Marc J . Bern & Partners, LLP
1200 89682      Marc J . Bern & Partners, LLP
1201 89713      Marc J . Bern & Partners, LLP
1202 89858      Weller Green Toups & Terrell LLP
1203 89911      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1204 90148      N/A
1205 90280      Slater Slater Schulman, LLP
1206 90430      Babin Law, LLC
1207 90729      N/A
1208 9085       Junell & Associates, PLLC
1209 9086       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1210 91018      Joseph Joy & Associates, APLC & Jason J. Joy & Associates, APLC
1211 9132       Slater Slater Schulman, LLP
1212 91551      D Miller & Associates, PLLC
1213 91567      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1214 91580      Napoli Schkolnik PLLC
1215 91614      ASK LLP
1216 91679      Weller Green Toups & Terrell LLP
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 1    Claim No.                               Law Firm Name
1217 91689      Kraus and Kinsman Law Firm
1218 9173       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1219 91737      Weitz & Luxemberg, P.C
1220 91805      D Miller & Associates, PLLC
1221 91914      Mitchell A. Toups, Ltd.
1222 91944      Marc J . Bern & Partners, LLP
1223 91950      Marc J . Bern & Partners, LLP
1224 92037      The Moody Law Firm, Inc
1225 92107      The Moody Law Firm, Inc
                 Weller Green Toups & Terrell LLP, Richardson Patrick Westbrook & Brickman,
1226 92129       LLC
1227 92148       D Miller & Associates, PLLC
1228 92150       D Miller & Associates, PLLC
1229 92228       Weller Green Toups & Terrell LLP
1230 92340       D Miller & Associates, PLLC
1231 92385       Kraus and Kinsman Law Firm
1232 92405       Weller Green Toups & Terrell LLP
1233 92515       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1234 92518       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1235 92529       Slater Slater Schulman, LLP
1236 92564       Law Offices of Betti & Associates
1237 9257        Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1238 92673       Kraus and Kinsman Law Firm
1239 92698       N/A
1240 92702       Slater Slater Schulman, LLP
1241 92751       Slater Slater Schulman, LLP
1242 92781       Law Offices of Donald G. Norris
1243 92836       Kraus and Kinsman Law Firm
1244 92849       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1245 92899       D Miller & Associates, PLLC
1246 92904       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1247 92910       Reich and Binstock, LLP
1248 92914       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1249 92921       Kraus and Kinsman Law Firm
1250 93026       Marc J . Bern & Partners, LLP
1251 93032       Junell & Associates, PLLC
1252 93203       Bradshaw & Bryant, PLLC
1253 93265       D Miller & Associates, PLLC
1254 93347       N/A
                 Weller Green Toups & Terrell LLP, Richardson Patrick Westbrook & Brickman,
1255 93570       LLC
1256 93573       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1257 93602       Bailey Cowan Heckaman, PLLC
1258 93611       N/A
1259 93688       Bailey Cowan Heckaman, PLLC
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                                       REVISED EXHIBIT C TO MOTION
                                             (CLAIMANT LIST )
          A                                            B
 1    Claim No.                                 Law Firm Name
1260 93770      Napoli Schkolnik PLLC
1261 93955      Kraus and Kinsman Law Firm
1262 94291      Weller Green Toups & Terrell LLP
1263 94539      N/A
1264 94648      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1265 94706      Junell & Associates, PLLC
1266 94726      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1267 9473       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1268 94764      Kraus and Kinsman Law Firm
1269 94806      Slater Slater Schulman, LLP
1270 94833      Napoli Schkolnik PLLC
1271 95090      Kraus and Kinsman Law Firm
1272 95137      Bailey Cowan Heckaman, PLLC
1273 95140      Bailey Cowan Heckaman, PLLC
1274 95208      Kraus and Kinsman Law Firm
1275 95231      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1276 9524       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1277 95291      N/A
1278 95318      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1279 95322      Kraus and Kinsman Law Firm
1280 95622      N/A
1281 95729      N/A
1282 95804      D Miller & Associates, PLLC
1283 95813      Jason J. Joy & Associates, PLLC
1284 95910      D Miller & Associates, PLLC
1285 96026      D Miller & Associates, PLLC
1286 96076      James Harris Law, PLLC
1287 96089      James Harris Law, PLLC
1288 96092      James Harris Law, PLLC
1289 96105      D Miller & Associates, PLLC
1290 96138      N/A
1291 96158      N/A
1292 96170      N/A
1293 9626       Mitchell A. Toups, Ltd.
1294 96359      Napoli Schkolnik PLLC
1295 96432      Junell & Associates, PLLC
1296 96435      Junell & Associates, PLLC
1297 96496      N/A
1298 96497      N/A
1299 96541      Andrews & Thornton, AAL, ALC
1300 96543      Andrews & Thornton, AAL, ALC
1301 96808      James Harris Law, PLLC
1302 96922      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1303 96924      Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1304 9883       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
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                                             (CLAIMANT LIST )
          A                                          B
 1    Claim No.                               Law Firm Name
1305 9930       Slater Slater Schulman, LLP
1306 9947       Kosnoff, AVA Law Group, AIS, Eisenberg, Rothweiler, Van Arsdale
1307 9996       Slater Slater Schulman, LLP
